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 8                         UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,        )      Case No. 2:19-CV-00247 JAM-DB
                                      )
12                     Plaintiff,     )
                                      )
13        v.                          )
                                      )
14   REAL PROPERTY LOCATED AT 725     )
     MAIN STREET, MARTINEZ,           )      RELATED CASE ORDER
15   CALIFORNIA, CONTRA COSTA COUNTY, )
     APN: 373-192-007-4, INCLUDING    )
16   ALL APPURTENANCES AND            )
     IMPROVEMENTS THERETO, ET AL.,    )
17                                    )
                       Defendants.    )
18   SECURITIES AND EXCHANGE          )      Case No. 2:19-CV-02140 MCE-AC
     COMMISSION,                      )
19                                    )
                       Plaintiff,     )
20                                    )
          v.                          )
21                                    )
     JOSEPH BAYLISS and RONALD ROACH, )
22                                    )
                        Defendants.   )
23                                    )
     SECURITIES AND EXCHANGE          )      Case No. 2:19-CV-02531 MCE-CKD
24   COMMISSION,                      )
                                      )
25                     Plaintiff,     )
                                      )
26        v.                          )
                                      )
27   ROBERT A. KARMANN,               )
                                      )
28                       Defendant.   )
                                      )
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       Case 2:19-cv-00485-JAM-DB Document 37 Filed 12/19/19 Page 2 of 3

 1   UNITED STATES OF AMERICA,        )      Case No. 2:19-CV-00485 JAM-DB
                                      )
 2                     Plaintiff,     )
                                      )
 3        v.                          )
                                      )
 4   APPROXIMATELY $6,567,897.50      )
     SEIZED FROM CTBC BANK, ACCOUNT   )
 5   NUMBER 3800191916, ET AL.,       )
                                      )
 6                        Defendants. )
     UNITED STATES OF AMERICA,        )
 7                                    )
                       Plaintiff,     )
 8                                    )      Case No. 2:19-CV-00636 JAM-DB
          v.                          )
 9                                    )
     5383 STONEHURST DRIVE, MARTINEZ, )
10   CALIFORNIA, CONTRA COSTA COUNTY, )
     APN: 367-230-018-7, INCLUDING    )
11   ALL APPURTENANCES AND            )
     IMPROVEMENTS THERETO, ET AL.,    )
12                                    )
                       Defendants.    )
13   UNITED STATES OF AMERICA,        )
                                      )
14                     Plaintiff,     )      Case No.: 2:19-CR-00182 JAM
                                      )
15        v.                          )
                                      )
16   RONALD J. ROACH and JOSEPH W.    )
     BAYLISS,                         )
17                                    )
                        Defendants.   )
18   UNITED STATES OF AMERICA,        )
                                      )
19                     Plaintiff,     )      Case No.: 2:19-CR-00222 JAM
                                      )
20        v.                          )
                                      )
21   ROBERT A. KARMANN,               )
                                      )
22                       Defendant.   )
23        Examination of the above-entitled actions reveals that these

24   actions are related within the meaning of Local Rule 123 (E.D. Cal.

25   2005).   Accordingly, the assignment of the matters to the same

26   judge and magistrate judge is likely to affect a substantial

27   savings of judicial effort and is also likely to be convenient for

28   the parties.


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 1        The parties should be aware that relating the cases under

 2   Local Rule 123 merely has the result that these actions are

 3   assigned to the same judge and magistrate judge; no consolidation

 4   of the actions is effected.     Under the regular practice of this

 5   court, related cases are generally assigned to the judge and

 6   magistrate judge to whom the first filed action was assigned.

 7        IT IS THEREFORE ORDERED that the actions denominated

 8   2:19-CV-02140 MCE-AC and 2:19-CV-02531 MCE-CKD be reassigned to

 9   Judge John A. Mendez and Magistrate Judge Deborah Barnes for all

10   further proceedings, and any dates currently set in this reassigned

11   case only are hereby VACATED.      Henceforth, the caption on documents

12   filed in the reassigned cases shall be shown as 2:19-CV-02140 JAM-

13   DB and 2:19-cv-02531 JAM-DB.

14        IT IS FURTHER ORDERED that the Clerk of the Court make

15   appropriate adjustment in the assignment of criminal cases to

16   compensate for this reassignment.

17        IT IS SO ORDERED.

18   Dated:   December 18, 2019

19                                     /s/ John A. Mendez_________________

20                                     United States District Court Judge

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